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Shirley P. Cunningham v. The Kroger Co.; and John Does
State Court of DeKalb County, State of Georgia
Civil Action File Number: 21A03916

Shirley P. Cunningham v. The Kroger Co.; and John Does
USDC, Northern District, Atlanta Division
Civil Action File Number: TBA




                             EXHIBIT A:
       PLAINTIFF SHIRLEY P. CUNNINGHAM’S
            COMPLAINT FOR DAMAGES
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